                UNITED STATES DISTRICT COURT
                     MIDDLE DISTRICT OF NORTH CAROLINA


NORTH CAROLINA DEMOCRATIC PARTY, et al.

      v.
                                                        Case Number:      1:23CV862
NORTH CAROLINA STATE BOARD OF
ELECTIONS, et al.




                           NOTICE OF HEARING
        Take notice that a proceeding in this case has been SET as indicated below:

     PLACE:            Hiram H. Ward Bldg., 251 N. Main St., Winston-Salem, NC
     COURTROOM NO: 1
     DATE & TIME:      December 28, 2023-10:00 a.m.
     PROCEEDING:       Oral Arguments on Motion for Preliminary Injunction
__________________________________________________________________________

John S. Brubaker, Clerk

By: /s/ Anita Engle, Deputy Clerk

Date: December 7, 2023

TO:   All Counsel and/or Parties of Record




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